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 1    WADE KILPELA SLADE LLP                          WADE KILPELA SLADE LLP
      Gillian L. Wade, State Bar No. 229124           David Slade
 2    gwade@waykayslay.com                            slade@ waykayslay.com
      Sara D. Avila, State Bar No. 263213             1 Riverfront Place, Suite 745,
 3    sara@waykayslay.com                             North Little Rock, AR 72114
      Marc A. Castaneda, State Bar No. 299001         Telephone: (501) 417-6445
 4    marc@waykayslay.com                             Facsimile: (424) 276-0473
      2450 Colorado Ave., Suite 100E,
 5    Santa Monica, CA 90404                          wh LAW
      Telephone: (310) 667-7273                       Brandon Haubert
 6    Facsimile: (424) 276-0473                       brandon@wh.law
                                                      Jessica Hall
 7    MILSTEIN JACKSON FAIRCHILD                      jessica@wh.law
      & WADE, LLP                                     1 Riverfront Place, Suite 745
 8    Mark A. Milstein, State Bar No. 155513          North Little Rock, AR 72114
      mmilstein@mjfwlaw.com                           Telephone: 501.891.6000
 9    2450 Colorado Ave., Ste. 100E                   Facsimile: 501.222.3027
      Santa Monica, California 90404
10    Tel: (310) 396-9600
      Fax: (310) 396-9635
11
      Attorneys for Plaintiffs individually and
12    on behalf of all others similarly situated
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14
                                      UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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     SHANNON IRELAND-GORDY and                             Case No. 3:23-CV-04119-RFL
18   STEPHANIE IRELAND GORDY, MELISSA
     BROAD, and JANE DOE individually and on               DECLARATION OF
19   behalf of all others similarly situated,                      IN SUPPORT OF
                                                                       MOTION TO PROCEED
20                      Plaintiffs,                        UNDER A PSEUDONYM AS TO JANE
                                                           DOE
21          v.
                                                           Hearing Date:       September 17, 2024
22   TILE, INC., LIFE360, INC., and                        Hearing Time:       10:00 a.m.
     AMAZON.COM, INC.,                                     Judge:              Rita F. Lin
23                                                         Dept.               15
                        Defendants.
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                                                   DECLARATION OF                IN SUPPORT OF
                                                                    MOTION TO PROCEED UNDER A PSEUDONYM
                                                                                  CASE NO. 3:23-CV-04119-RFL
          Case 3:23-cv-04119-RFL Document 46-2 Filed 08/02/24 Page 2 of 3



 1   I,                   , hereby declare as follows:

 2            1.    I am the Jane Doe plaintiff in the above-named lawsuit. I make the statements in this

 3   declaration based on my personal knowledge of the matters discussed herein, and if called as a

 4   witness, I could and would competently testify to same.

 5            2.    I was stalked by my ex-boyfriend with a Tile Tracker in March 2024. On or about

 6
 7   house, and was alerted that there was a suspicious person driving down the street. I recognized the
 8   person my ex-boyfriend.
 9            3.    I knew my ex-boyfriend had a Life 360 account and became suspicious that he was
10   using a Tile Tracker to follow me. I downloaded the Tile app on my ride home so I could use its
11   Scan and Secure feature. The app showed the Tile Tracker was in my proximity, but did not allow
12   me to locate it, nor did it allow me to trigger a noise or any other sensory alert that enabled me to
13   locate the device.
14            4.    On March 28, 2024, I physically removed the front seats of my car, but still could
15   not find the Tile Tracker. Around the same time, I reached out to the police but was informed they
16   could not help me unless the device was found.
17            5.    Several days later, I removed the entire back seat of my car and found the Tile
18                                       . Once I found the Tile Tracker, I destroyed the device.
19            6.    Ever since the stalking, I have had profound trust problems, as well as a more
20   omnipresent anxiety in my day-to-day life. I will not park anywhere that is far from my ultimate
21   destination or out of view of a security camera. I have developed an overwhelming fear my ex-
22   boyfriend could find me and harass me, or worse, expose me to violence. I have had a hard time
23   sleeping, I feel a consistent nervousness, and I am convinced that I am always being followed.
24            7.    I am deeply concerned about my identity being made public through this litigation,
25   which may allow my ex-boyfriend to know when I will be in court.
26            8.    Within the past month, my ex-boyfriend has committed property damage in
27   retaliation against me and has sent threatening messages to my family, and I am considering trying
28   to get a restraining order against him.
                                                         1      DECLARATION OF                  ISO MOTION
                                                                          TO PROCEED UNDER A PSEUDONYM
                                                                                 CASE NO. 3:23-CV-04119-RFL
          Case 3:23-cv-04119-RFL Document 46-2 Filed 08/02/24 Page 3 of 3



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 4            I declare under the penalty of perjury that the foregoing is true and correct and that this

 5                                                               Chatsworth
     declaration was executed on this 2nd day of August 2024 in ____________________, California.
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                                                       2       DECLARATION OF                  ISO MOTION
                                                                         TO PROCEED UNDER A PSEUDONYM
                                                                                CASE NO. 3:23-CV-04119-RFL
